Case 2:05-cv-04182-SRD-JCW Document 1428 Filed O23. sate COURT
- TEASTERN DISTRICT OF LOUISIANA

AQ 440 (Rev. 10/93) Summons in a Civil Action | mien! OCT 2 3 2006 \

United States District

EASTERN DISTRICT OF LOUI

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MAUREEN O’DWYER, ET AL.

SUMMONS IN A CIVIL CASE
Vv. CASE NUMBER:

DEPARTMENT OF TRANSPORTATION
AND DEVELOPMENT, ET AL. 06-4389 “S* (3)

Ka)

TO: GEORGE E. LOPEZ, INDIVIDUALLY AND AS PRESIDENT OF
THE BOARDOF COMMISSIONERS FOR THE LAKE BORGNE BASIN
LEVEE DISTRICT

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name

and address)

Ashton R. O’Dwyer, Jr.
One Canal Place

365 Canal Street

Suite 26706

New Orleans, LA 70130

An answer to the Complaint and First Supplemental and Amending Complaint in a Class Action
Lawsuit, which is herewith served upon you, within twenty (20) days after service of this summons upon
you, exclusive of the day of service, If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.

LORETTA G. WHYTE 5 :
CLERK x ‘ DATE
(BY) AK CLERK 4

Fee
—~ Process.
XX. Dkid..
— CIRmBep
__.. Bac. No.

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Case 2:05-cv-04182-SRD-JCW . Document 1428 Filed 10/23/06 Page 2 of 2

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RETURN OF SERVICE

DATE
Service of the Summons and Complaint was made by me? 10 1 OL

NAME OF SERVER PNT Aca taal 0) pe. med 7 ——__

Check one box below to indicate appropriate method of service

r ] Served personally upon the defendant. Place where served:

L] Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age ang
discretion then residing therein.

Name of person with whom the summons and complaint were left:
[] Returned unexecuted: peng AUrULEL
Z YY |
/ __{
ey. Lake Borgne Levee District . -
Other (specify): _ 6136 East St. Bernard Highway > bho |
St Bernard, LA 70085
STATEMENT OF SERVICE FEES i
TRAVEL SERVICES TOT
DECLARATION OF SERVER ‘\\ R Lao
: Ee —_ | —_ ———
| declare under penalty of perjury under the laws of the United State of America that the foregoing information

contained in the Return of Service and Statement of Service Fees Crue 9 2
p 1 f
Executed on } 0] | O | Obs Al

4?

Date Signature of LOR

N01 LA,

Address of Sérver

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure,

